      Case 0:15-cv-61446-BB Document 130 Entered on FLSD Docket 10/10/2017 Page 1 of 1
                   ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
PART I.                                     TRANSCRIPT ORDER INFORMATION
Appellant to complete and file with the District Court Clerk within 10 days of the filing of the notice of appeal in all cases, including
those in which there was no hearing or for which no transcript is ordered.
Short Case Style:       Circuitronix, LLC                                         vs    Sunny Kapoor, et al.

District Court No.: 15-cv-61446-BB                    Date Notice of Appeal Filed: 9/7/2017              Court of Appeals No.: 17-14317-F
                                                                                                                                     (If Available)
CHOOSE ONE:  No hearing  No transcript is required for appeal purposes  All necessary transcript(s) on file
             I AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS:
                           ✔




Check appropriate box(es) and provide all information requested:
                                 HEARING DATE(S)                        JUDGE/MAGISTRATE                        COURT REPORTER NAME(S)
 Pre-Trial Proceedings              5/26/2017                   Hon. Beth Bloom                               Yvette Hernandez

 Trial
 Sentence
 Other


METHOD OF PAYMENT:

✔
    I CERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY
    ARRANGEMENTS WITH THE COURT REPORTER(S) FOR PAYING THE COST OF THE TRANSCRIPT.
    CRIMINAL JUSTICE ACT. Attached for submission to District Judge/Magistrate is my completed CJA Form 24 requesting authorization
     for government payment of transcript. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY AUTHORIZED
     in Item 13 on CJA Form 24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party:        Chauncey D. Cole, IV

Name of Firm:                  KOYZAK TROPIN & THROCKMORTON

Street Address/P.O. Box:       2525 Ponce de Leon Boulevard, 9th Floor

City/State/Zip Code:           Miami, Florida 33134                                                        Phone No. : 305-372-1800
I certify that I have completed and filed PART I with the District Court Clerk, sent a copy to the appropriate Court Reporter(s) if ordering a
transcript, mailed a filed copy to the Court of Appeals Clerk, and served all parties.

DATE: October 10, 2017         SIGNED:      /s/Chauncey D. Cole, IV                                   Attorney for: Circuitronix, LLC

PART II.                              COURT REPORTER ACKNOWLEDGMENT
Court Reporter to complete and file with the District Court Clerk within 10 days of receipt. The Court Reporter shall send
a copy to the Court of Appeals Clerk and to all parties.
Date Transcript Order received:
 Satisfactory arrangements for paying the cost of the transcript were completed on:
 Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:               Estimated no. of transcript pages:                Estimated filing date:
DATE:                          SIGNED:                                                                   Phone No. :
NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
transcript were completed unless the Court Reporter obtains an extension of time to file the transcript.

PART III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Court Reporter to complete and file with the District Court Clerk on date of filing transcript in District Court. The Court
Reporter shall send a copy to the Court of Appeals Clerk on the same date.
This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:
Date:                                  Signature of Court Reporter:
                                                                                                                                           Rev. 2/06
